                                  EXHIBIT
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                                     Document

               8/9/2016 Islamic State of Iraq / Two Zionist Mossad owned four-wheel-drive vehicles
                                      destroyed – World News Network 18-1


                                                    World News Network

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           18-1 Islamic State of Iraq / Two Zionist Mossad owned four-wheel-drive vehicles destroyed
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           18-01-2007, 01:50 PM
           18-1 Islamic State of Iraq / Two Zionist Mossad-owned four-wheel-drive vehicles destroyed
           Islamic State of Iraq / Two Zionist Mossad-owned four-wheel-drive vehicles were destroyed
           at Yarmouk neighborhood in the state of Baghdad.

           In the name of Allah the Most Graceful, the Most Merciful.
           All praise is due to Allah, the Lord of all that exists, and may peace and blessings be upon our
           Prophet Muhammad, and upon his family and his companions in their entirety.

           To Proceed:

           With the blessings of Allah, two four-wheel-drive vehicles owned by the Zionist Mossad
           were destroyed in the Yarmouk neighborhood in the state of Baghdad. All persons boarding
           the car have been killed after they have been attacked by light and medium-size weapons
           and RBG rockets. Another third vehicle was severely damaged as well in the attack that took
           place on Wednesday the 28th day of Dhul Hijjah of the year 1427 which corresponds to
           17/1/2007. All grace and praise are due to Allah.

           O Allah, Revealer of the Book, Disperser of the clouds, Defeater of the Ahzab (Bloc of
           Infidels) May You put to rout the Rawafid (Shias), haters, Zionist-flavored Crusaders, and
           whoever joins their forces.
           May You keep them and their military equipment as spoils of war for Muslims.
           O Allah, send them to ruins and Strike them with convulsion.
           O Allah, You are our Protector and You are our Defender; With Your support we attack and
           with Your support we fight.
           May You strike Your vengeance upon them; their strength is incomparable to Yours. O Allah
           we ask of You to afflict upon them everything You had inflicted upon the Pharaoh of Egypt
           and his supporters; O Allah, strike their lands with floods and plague them by shortage of
           money, souls, and harvest. O Allah, Your soldiers are not to be defeated and Your army is
           not to be conquered. O Allah, crush them, and Shake them; You are All-Powerful All-Mighty.
           O Allah, Lord of Majesty and Bounty, the Ever-living, the Upright Sustainer of All.

           Allahu-Akbar
           "But to Allah is the might and to His Messenger and to the believers, yet the hypocrites
           know not"

           Ministry of Information/ Spokesperson of the Islamic State of Iraq




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PARHAMOVICH V. IRAN                                                                                                       PLA000392
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      ‫‪8/9/2016‬‬                              ‫‪18-1‬‬    ‫را‬    ‫ا‬       ‫‪-‬‬        ‫دا‬                  ‫ا‬     ‫ذات ا‬    ‫ّر‬          ‫‪/‬‬         ‫دو ا اق ا‬



                                                                        ‫ﺷﺒﻜﺔ ﺍﻷﺧﺒﺎﺭ ﺍﻟﻌﺎﻟﻤﻴﺔ‬




                                                                                                                                                ‫ﺍﻟﻌﻮﺩﺓ‬
                                                                                  ‫ﺷﺒﻜﺔ ﺍﻷﺧﺒﺎﺭ ﺍﻟﻌﺎﻟﻤﻴﺔ < ﺍﻷﻗﺴﺎﻡ ﺍﻟﺮﺋﻴﺴﺔ < ﺑﻴﺎﻧﺎﺕ ﻭﺗﻘﺎﺭﻳﺮ ﻭﺇﺻﺪﺍﺭﺍﺕ‬
                                                              ‫ﺗﺤﺪﻳﺚ ﺍﻟﺼﻔﺤﺔ ‪ 18­1‬ﺩﻭﻟﺔ ﺍﻟﻌﺮﺍﻕ ﺍﻹﺳﻼﻣﻴﺔ ‪ /‬ﺗﺪﻣﻴﺮ ﺳﻴّﺎﺭﺗﻴﻦ ﺫﺍﺕ ﺍﻟﺪﻓﻊ ﺍﻟﺮﺑﺎﻋﻲ ﺗﺎﺑﻌﺔ ﻟﻠﻤﻮﺳﺎﺩ ﺍﻟﺼﻬﻴﻮﻧﻲ‬

                 ‫ﺍﻷﺭﺷﻴﻒ‬               ‫ﺍﻹﺗﺼﺎﻝ ﺑﻨﺎ‬                      ‫ﺧﺪﻣﺔ ‪RSS‬‬                     ‫ﺍﻟﺒﺤﺚ‬                      ‫ﺁﺧﺮ ﺍﻷﺧﺒﺎﺭ‬                      ‫ﺍﻟﺮﺋﻴﺴﻴﺔ‬


          ‫‪#1‬‬                                                                                                                   ‫ﻗﺪﻳﻢ ‪PM 01:50 ,18­01­2007‬‬

                                            ‫ﺩﻭﻟﺔ ﺍﻟﻌﺮﺍﻕ ﺍﻹﺳﻼﻣﻴﺔ ‪ 18­1‬ﺩﻭﻟﺔ ﺍﻟﻌﺮﺍﻕ ﺍﻹﺳﻼﻣﻴﺔ ‪ /‬ﺗﺪﻣﻴﺮ ﺳﻴّﺎﺭﺗﻴﻦ ﺫﺍﺕ ﺍﻟﺪﻓﻊ ﺍﻟﺮﺑﺎﻋﻲ ﺗﺎﺑﻌﺔ ﻟﻠﻤﻮﺳﺎﺩ ﺍﻟﺼﻬﻴﻮﻧﻲ‬

           ‫ﺩﻭﻟﺔ ﺍﻟﻌﺭﺍﻕ ﺍﻹﺳﻼﻣﻳﺔ ‪ /‬ﺗﺩﻣﻳﺭ ﺳ ّﻳﺎﺭﺗﻳﻥ ﺫﺍﺕ ﺍﻟﺩﻓﻊ ﺍﻟﺭﺑﺎﻋﻲ ﺗﺎﺑﻌﺔ ﻟﻠﻣﻭﺳﺎﺩ ﺍﻟﺻﻬﻳﻭﻧﻲ ﻓﻲ ﺣﻲ ﺍﻟﻳﺭﻣﻭﻙ ﺿﻣﻥ ﻭﻻﻳﺔ‬
                                                                                                            ‫ﺑﻐﺩﺍﺩ‬

                                                                                            ‫ﺑﺳﻡ ﷲ ﺍﻟﺭﺣﻣﻥ ﺍﻟﺭﺣﻳﻡ‬
                                     ‫ﻭﺍﻟﺳﻼﻡ ﻋﻠﻰ ﻧﺑ ّﻳﻧﺎ ﻣﺣ ّﻣﺩ ﻭﻋﻠﻰ ﺁﻟﻪ ﻭﺻﺣﺑﻪ ﺃﺟﻣﻌﻳﻥ‬
                                                                                ‫ّ‬    ‫ﻭﺍﻟﺻﻼﺓ‬
                                                                                        ‫ّ‬    ‫ﺭﺏ ﺍﻟﻌﺎﻟﻣﻳﻥ‬
                                                                                                       ‫ّ‬     ‫ﺍﻟﺣﻣﺩ‬
                                                                                                           ‫ﺃﻣﺎ ﺑﻌﺩ‪:‬‬
          ‫ﻓﻘﺩ ﺗﻡ " ﺑﺣﻣﺩ ﷲ " ﺗﺩﻣﻳﺭ ﺳ ّﻳﺎﺭﺗﻳﻥ ﺫﺍﺕ ﺍﻟﺩﻓﻊ ﺍﻟﺭﺑﺎﻋﻲ ﺗﺎﺑﻌﺗﻳﻥ ﻟﻠﻣﻭﺳﺎﺩ ﺍﻟﺻﻬﻳﻭﻧﻲ ﻓﻲ ﻣﻧﻁﻘﺔ ﺍﻟﻳﺭﻣﻭﻙ ﺿﻣﻥ ﻭﻻﻳﺔ‬
             ‫ﺑﻐﺩﺍﺩ ‪ ٬‬ﻭﻣﻘﺗﻝ ﺟﻣﻳﻊ ﻣﻥ ﻛﺎﻥ ﻓﻳﻬﻣﺎ ‪ ٬‬ﺑﺎﻟﻬﺟﻭﻡ ﻋﻠﻳﻬﻣﺎ ﺑﺎﻷﺳﻠﺣﺔ ﺍﻟﺧﻔﻳﻔﺔ ﻭﺍﻟﻣﺗﻭﺳﻁﺔ ﻭﻗﺎﺫﻓﺎﺕ ﺍﻟـ ‪ ٬ Rbg‬ﻭﻛﺫﻟﻙ‬
               ‫ﺇﺻﺎﺑﺔ ﺛﺎﻟﺛﺔ ﺑﺄﺿﺭﺍﺭ ﺑﺎﻟﻐﺔ ‪ ٬‬ﻭﺫﻟﻙ ﻓﻲ ﻳﻭﻡ ﺍﻷﺭﺑﻌﺎء ‪ 28‬ﺫﻱ ﺍﻟﺣﺟﺔ ‪ 1427‬ﻫـ ﺍﻟﻣﻭﺍﻓﻕ ‪ 2007 / 1 / 17‬ﻡ ‪ .‬ﻭ‬
                                                                                                   ‫ﺍﻟﻔﺿﻝ ﻭﺍﻟﺷﻛﺭ ‪.‬‬

                 ‫ﺍﻟﻠﻬﻡ ﻣﻧﺯﻝ ﺍﻟﻛﺗﺎﺏ ﻭﻣﺟﺭﻱ ﺍﻟﺳﺣﺎﺏ ﻭﻫﺎﺯﻡ ﺍﻷﺣﺯﺍﺏ‪ ٬‬ﺍﻫﺯﻡ ﺍﻟﺭﻭﺍﻓﺽ ﺍﻟﺣﺎﻗﺩﻳﻥ ﻭﺍﻟﺻﻠﻳﺑﻳﻳﻥ ﺍﻟﻣﺗﺻﻬﻳﻧﻳﻳﻥ ‪ ٬‬ﻭﻣﻥ‬
                                                                                                               ‫ﺣﺎﻟﻔﻬﻡ ‪.‬‬
                                                                               ‫ﺍﻟﻠﻬﻡ ﺍﺟﻌﻠﻬﻡ ﻭﻋﺗﺎﺩﻫﻡ ﻏﻧﻳﻣﺔ ﻟﻠﻣﺳﻠﻣﻳﻥ‪.‬‬
                                                                                                ‫ﺍﻟﻠﻬﻡ ﺩ ّﻣﺭﻫﻡ ﻭﺯﻟﺯﻟﻬﻡ‪..‬‬
                                                  ‫ﺍﻟﻠﻬﻡ ﺃﻧﺕ ﻋﺿﺩﻧﺎ ﻭﺃﻧﺕ ﻧﺻﻳﺭﻧﺎ ‪ ,‬ﺍﻟﻠﻬﻡ ﺑﻙ ﻧﺻﻭﻝ ﻭﺑﻙ ﻧﺟﻭﻝ ﻭﺑﻙ ﻧﻘﺎﺗﻝ‪..‬‬
                  ‫ﺍﻟﻠﻬﻡ ﻋﻠﻳﻙ ﺑﻬﻡ ﻓﺈﻧﻬﻡ ﻻ ﻳﻌﺟﺯﻭﻧﻙ‪ ٬‬ﺍﻟﻠﻬﻡ ﺇﻧﺎ ﻧﺳﺄﻟﻙ ﺃﻥ ﺗﺻﻳﺑﻬﻡ ﺑﻣﺎ ﺃﺻﺑﺕ ﺑﻪ ﻓﺭﻋﻭﻥ ﻭﻗﻭﻣﻪ‪ ٬‬ﺍﻟﻠﻬﻡ ﺃﺭﺳﻝ ﻋﻠﻰ‬
                                                                                                ‫ﺑﻼﺩﻫﻡ ﺍﻟﻁﻭﻓﺎﻥ ﻭﺧﺫﻫﻡ‬
                 ‫ﺑﻧﻘﺹ ﻣﻥ ﺍﻷﻣﻭﺍﻝ ﻭﺍﻷﻧﻔﺱ ﻭﺍﻟﺛﻣﺭﺍﺕ‪ ٬‬ﺍﻟﻠﻬﻡ ﺇﻧﻪ ﻻ ﻳﻬﺯﻡ ﺟﻧﺩﻙ ﻭﻻ ﻳﻐﻠﺏ ﺟﻣﻌﻙ ﺍﻟﻠﻬﻡ ﺍﻫﺯﻣﻬﻡ ﻭﺯﻟﺯﻟﻬﻡ ﺇﻧﻙ ﻗﻭﻱ‬
                                                                                                          ‫ﻋﺯﻳﺯ ‪ ٬‬ﻳﺎ ﺫﺍ‬
                                                                                        ‫ﺍﻟﺟﻼﻝ ﻭﺍﻹﻛﺭﺍﻡ ﻳﺎ ﺣﻲ ﻳﺎ ﻗﻳﻭﻡ‪.‬‬

                                                                                                                                                                           ‫ﻭﷲ ﺃﻛﺑﺭ‬
                                                                                                                                                            ‫}ﻭ ِ ﱠ ِ ﺍ ْﻟﻌ َ َ ُ‬
                                                                                ‫ﺳﻭﻟِ ِﻪ َﻭﻟِ ْﻠ ُﻣ ْﺅ ِﻣﻧِﻳﻥَ َﻭ َﻟﻛِﻥﱠ ﺍ ْﻟ ُﻣ َﻧﺎﻓِﻘِﻳﻥَ ﻻ َﻳ ْﻌ َﻠ ُﻣﻭﻥَ {‬ ‫ِﺭ‬ ‫ﻟ‬ ‫ﻭ‬ ‫ُ‬ ‫ﺓ‬ ‫ﱠ‬
                                                                                                                                                                        ‫ِﺯ‬       ‫َ‬

                                                                                    ‫ﻭﺯﺍﺭﺓ ﺍﻹﻋﻼﻡ‪ /‬ﺍﻟﻣﺗﺣﺩﺙ ﺍﻟﺭﺳﻣﻲ ﻟﺩﻭﻟﺔ ﺍﻟﻌﺭﺍﻕ ﺍﻹﺳﻼﻣﻳﺔ‬

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‫‪PARHAMOVICH V. IRAN‬‬                                                                                                                                                             ‫‪PLA000393‬‬
‫)‪1:17-CV-00061 (KBJ‬‬
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                                         TRANSLATION CERTIFICATION


             County of New York
             State of New York

             Date: August 17, 2016


             To whom it may concern:

             This is to certify that the attached translation from Arabic into English is an accurate
             representation of the documents received by this office.

             The documents are designated as:
                • Article - ISI_Attack

             Eugene Li, Project Manager in this company, attests to the following:

             “To the best of my knowledge, the aforementioned documents are a true, full and accurate
             translation of the specified documents.”




             Signature of Eugene Li




         WI-44, 6/25/2015, Rev 0




PARHAMOVICH V. IRAN                                                                                     PLA000395
1:17-CV-00061 (KBJ)
